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                   IN THE UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF ARKANSAS
                           FAYETTEVILLE DIVISION



 CRIMINAL NO. 11-50121-008                USA v.         OSIRIS IVONNE DEPAZ-
                                          RAMIREZ

 COURT PERSONNEL:                         APPEARANCES:

 Judge: JIMM LARRY HENDREN                Govt. CLAY FOWLKES

 Clerk: GAIL GARNER                       Deft. CHRISTY COMSTOCK

 Reporter: THERESA SAWYER



                          SENTENCING MINUTE SHEET

      On this date the above-named defendant appeared in person and
 with counsel for sentencing and is sworn.

       (X)   Inquiry made that defendant is not under influence of
             alcohol or drugs and is able to comprehend proceedings.
       (X)    Inquiry made whether defendant is under the care of a
             physician or taking any medication and is able to
             comprehend proceedings.
       (X)   Inquiry made that defendant is satisfied with counsel.
       (X)   Court determined that defendant and counsel have had
             opportunity to read and discuss presentence investigation
             report.
       (X)   Presentence investigation report reviewed in open court.
       (X)   Court expresses final approval of plea agreement.
       (X)   Government moves for downward departure pursuant to
             5K1.1 - granted and four-level departure awarded.
       (X)   Attorney for government afforded opportunity to make
             statement to court.
       (X)   Counsel for defendant afforded opportunity to speak on
             behalf of defendant.
       (X)   Defendant afforded opportunity to make statement and
             present information in mitigation of sentence.
       (X)   Court proceeded to impose sentence as follows:

             30 months imprisonment; no supervised release;
             $6,000.00 fine imposed - interest waived.
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 Criminal No. 11-50121-008



       (X)   Defendant ordered to pay total special assessment of
             $100.00 for count 2s which shall be due immediately.
       (X)   Count 1s, and forfeiture allegation dismissed
             on motion by the government.
       (X)   Defendant advised of right to appeal sentence imposed.
       (X)   Defendant advised of right to apply for leave to appeal
             in forma pauperis.
       (X)   Defendant remanded to custody of USMS.



 DATE: OCTOBER 19, 2012                   Proceeding began: 1:08 PM

                                                         ended: 1:31 pm
